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                          IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     DUBLIN DIVISION

DAVID W. MORRIS, SR.,                           )
                                                )
               Plaintiff,                       )
                                                )
      v.                                        )            CV 322-089
                                                )
VERONICA STEWART,                               )
                                                )
               Defendant.                       )


                                           ORDER


       Having received no objection to the Court’s referral of this matter to the undersigned
for plenary disposition, (see doc. no. 60), the case is ready to proceed on Plaintiff’s excessive
force claim against Defendant. In order to determine any current potential interest by the
parties in settlement prior to setting the case for trial, the Court DIRECTS Plaintiff and
defense counsel to inform the Court by no later than January 24, 2024, whether they are
interested in exploring the possibility of a negotiated resolution of the matter.
       Failure to respond timely to this Order, and any other forthcoming orders regarding
pretrial proceedings, may result in the imposition of sanctions, the full panoply of which
may include dismissal of the case. See Fed. R. Civ. P. 16(f)(1)-(2); Fed. R. Civ. P.
37(b)(2)(A)(ii)- (vii).
       SO ORDERED this 10th day of January, 2024, at Augusta, Georgia.
